                                                         IT IS ORDERED

                                                         Date Entered on Docket: February 7, 2023




                                                         ________________________________
                                                         The Honorable David T. Thuma
                                                         United States Bankruptcy Judge
______________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF NEW MEXICO

  In re:

  Meagan Carpenter                                            Case No. 22-10926-t7

           Debtor(s).

    DEFAULT ORDER GRANTING U.S. BANK NATIONAL ASSOCIATION AS TRUSTEE FOR
   ANGEL OAK MORTGAGE TRUST I, LLC, 2018-3, MORTGAGE-BACKED CERTIFICATES,
   SERIES 2018-3 RELIEF FROM STAY AND ABANDONMENT OF PROPERTY LOCATED AT
                 1404 VERDEL AVENUE, CARLSBAD, NEW MEXICO 88220

           This matter came before the Court on the Motion for Relief from Stay and Abandonment

  (Real Property) regarding Property located at 1404 Verdel Avenue, Carlsbad, New Mexico

  88220 filed on January 9, 2023, Docket No. 14 (the “Motion”) by U.S. Bank National Association

  as Trustee for Angel Oak Mortgage Trust I, LLC, 2018-3, Mortgage-Backed Certificates, Series

  2018-3 (“Movant”). The Court, having reviewed the record and the Motion, and being otherwise

  sufficiently informed, FINDS:

           (a)    On January 9, 2023, Movant served the Motion and a notice of the Motion (the

  “Notice”) on counsel of record for the Debtor(s) and the case trustee (the “Trustee”) by use of

  the Court’s case management and electronic filing system for the transmission of notices, as




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authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on the Debtor(s) by United States

first class mail, in accordance with Bankruptcy Rules 7004 and 9014.

       (b)     The Motion relates to the following property:

               THE SURFACE ESTATE ONLY OF:

               TRACT C OF ROGERS LINE AJUSTMENT, A SURVEY OF PART OF BLOCK
               31 OF THE LA HUERTA SUBDIVISION AND PART OF THE NW1/4 OF
               SECTION 33 AND PART OF THE SW1/4 OF SECTION 28, TOWNSHIP 21
               SOUTH, RANGE 27 EAST, N.M.P.M., EDDY COUNTY, NEW MEXICO.

               (the “Property”).

       (c)     The Notice specified an objection deadline of 21 days from the date of service of

               the Notice, to which three days was added under Bankruptcy Rule 9006(f);

       (d)     The Notice was sufficient in form and content;

       (e)     The objection deadline expired on February 2, 2023.

       (f)     As of February 3, 2023, neither the Debtor(s) nor the Trustee, nor any other

party in interest, filed an objection to the Motion;

       (g)     The Motion is well taken and should be granted as provided herein; and

       (h)     By submitting this Order to the Court for entry, the undersigned counsel for

Movant certifies, under penalty of perjury that, on February 3, 2023 Krista Jones, Bankruptcy

Legal Assistant searched the data banks of the Department of Defense Manpower Data Center

(“DMDC”), and found that the DMDC does not possess any information indicating that the

Debtor(s) is/are currently on active military duty of the United States.

       IT IS THEREFORE ORDERED:

       1.      Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens against

the Property, of any lien priority, are hereby are granted relief from the automatic stay:

               (a)     To enforce their rights in the Property, including foreclosure of liens and a

foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements,

and/or other agreements to which Debtor(s) is/are a party, to the extent permitted by applicable




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non-bankruptcy law, such as by commencing or proceeding with appropriate action against the

Debtor(s) or the Property, or both, in any court of competent jurisdiction; and

               (b)    To exercise any other right or remedy available to them under law or

equity with respect to the Property.

       2.      The Trustee is deemed to have abandoned the Property from the estate

pursuant to 11 U.S.C. §554 as of the date of entry of this Order, and the Property therefore no

longer is property of the estate. As a result, Movant need not name the Trustee as a defendant

in any state court action it may pursue to foreclosure liens against the Property and need not

notify the Trustee of any sale of the Property.

       3.      The automatic stay is not modified to permit any act to collect any deficiency or

other obligation as a personal liability of the Debtor(s), although the Debtor(s) can be named as

a defendant in litigation to obtain an in rem judgment or to repossess the Property in

accordance with applicable non-bankruptcy law.

       4.      This Order does not waive Movant’s claim against the estate for any deficiency

owed by the Debtor(s) after any foreclosure sale or other disposition of the Property. Movant

may file an amended proof of claim this bankruptcy case within 30 days after a foreclosure sale

of the Property, should it claim that Debtor(s) owe any amount after the sale of the Property.

       5.      This Order shall continue in full force and effect if this case is dismissed or

converted to a case under another chapter of the Bankruptcy Code.

       6.      This order is effective and enforceable upon entry. The 14-day stay requirement

of Fed.R.Bankr.P. 4001(a)(3) is waived.

                                   XXX END OF ORDER XXX




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Submitted by:

TIFFANY & BOSCO, P.A.

By: /s/Electronically submitted/ February 3, 2023
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